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                                 132917



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC. IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTSLIABILITY LITIGATION                                    MDL No. 2570
__________________________________________

This Document Relates to Plaintiff : Paul Cornett

Civil Case No.: 1:16-cv-2123

MOTION FOR LEAVE TO FILE FIRST AMENDED SHORT FORM COMPLAINT

       Plaintiff, Paul Cornett, respectfully moves this Court to grant leave to file the attached

First Amended Short Form Complaint attached hereto as Exhibit 1. In support of this Motion,

movant states as follows:


       1. Plaintiff anticipates that Defendants will be filing a motion to dismiss pursuant to

           CMO-28, Statute of Repose defense;

       2. Plaintiff wishes to add additional key facts regarding injuries and accrual notice

           supporting his claims of timely filing of his case pursuant to the exception set out in

           Ind. Code § 34-20-3-1[b][2];

       3. Plaintiff wishes to add additional key facts regarding Waiver of Express and implied

           Warranties by Defendants and latent disease exceptions

              WHEREFORE, Plaintiff prays for the following relief: [1] the Court grant leave

       to file the attached First Amended Short Form Complaint; and [2] the Court deem the

       attached First Amended Short Form Complaint filed instanter. A Proposed Order is

       attached hereto.


Date: August 18, 2022                 Respectfully submitted,
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                                 132918



                                              THE DUDLEY LAW FIRM, LLC

                                              By: /s/ Elizabeth Dudley
                                               Elizabeth Dudley (KS Bar No. 21582)
                                               (admitted pro hac vice)
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                                              (316) 746-3969
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                                              Liz@lizdudleylaw.com

                                              Attorney for Plaintiff




                                 CERTIFICATE OF SERVICE


       I hereby certify that on August 18, 2022, a copy of the foregoing was served

electronically and notice of the service of this document will be sent to all parties by operation of

the Court’s electronic filing system to the CM/ECF participants registered to receive service in

this matter. Parties may access the filing through the Court’s system.

                                       / s/ Elizabeth Dudley
